                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION - DETROIT


In re:                                               Case No. 22-45589

         Berwick Clinic Company, LLC,                Chapter 11 Proceeding

          Debtor.                                    Hon. Lisa S. Gretchko
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ORDER CHANGING TIME OF AUGUST 9, 2022 STATUS CONFERENCE
              FROM 11:00 A.M. TO 3:00 P.M.


         On July 29, 2022, the Patient Care Ombudsman filed her First Report

Pursuant to Bankruptcy Code Section 333 (“First Report”; ECF No. 17). The

Court reviewed the First Report, and entered an order (ECF No. 29) scheduling a

status conference for August 9, 2022 (at 11:00 a.m.) to discuss the issues raised in

the First Report. On August 4, 2022, Debtor’s counsel advised the Court that he

has a conflict and cannot attend a telephonic conference at 11:00 a.m. on August 9,

2022, but could attend a telephonic conference later that day. The Court is advised

in the premises.

         NOW, THEREFORE, IT IS HEREBY ORDERED that the Court will

hold a telephonic status conference on Tuesday, August 9, 2022, at 3:00 p.m. At




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least five minutes before the scheduled time for said status conference, participants

should call (888) 684−8852 and use Access Code 6874938#, and place their phone

on mute and wait until the case is called before unmuting their phone and

participating. The Debtor, Debtor’s counsel, the Subchapter V Trustee, the

United States Trustee, and the Patient Care Ombudsman must appear at this

telephonic status conference. Other parties in interest are invited but not required

to attend.




Signed on August 4, 2022




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